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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

ALONZO HAMPTON,                                                                      PLAINTIFF
ADC #137559

v.                                     4:20-cv-00892-KGB-JTK

WENDY KELLEY, et al.                                                               DEFENDANTS

                                              ORDER

       Before the Court is the proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney (Dkt. No. 10).       The parties have not filed objections to the

proposed findings and recommendations.        After a review of Judge Kearney’s proposed findings

and recommendations, the Court adopts them in their entirety (Id.).

       It is therefore ordered that:

       1.      Defendants Wendy Kelley, Terri Bannister, Keith Waddle, and Dana McCoy, and

plaintiff Alonzo Hampton’s claims against them, are dismissed without prejudice.

       2.      Mr. Hampton’s damages and expungement claims against all defendants are

dismissed without prejudice to his right to reassert those claims should his disciplinary convictions

be invalidated by a state tribunal or federal court.

       3.      Mr. Hampton’s procedural due process claims with respect to disciplinary

proceedings unrelated to the January 2, 2020, hearing are dismissed without prejudice.

       So ordered this 21st day of October, 2020.



                                               _________________________________
                                               KRISTINE G. BAKER
                                               UNITED STATES DISTRICT JUDGE
